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                     UNITED STATES COURT OF APPEALS                          FILED
                             FOR THE NINTH CIRCUIT                           MAR 28 2025
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
PACITO; et al.,                                   No. 25-1939
                                                      25-1313
             Plaintiffs - Appellees,              D.C. No.
                                                  2:25-cv-00255-JNW
 v.                                               Western District of Washington,
                                                  Seattle
DONALD J. TRUMP, in his official
capacity as President of the United States; et    ORDER
al.,

             Defendants - Appellants.

      The unopposed motion (Docket Entry No. 3 in 25-1939, 31 in 25-1313) to

consolidate these appeals is granted.

      The consolidated opening brief is due April 22, 2025. The consolidated

answering brief is due May 20, 2025. The optional consolidated reply brief is due

within 21 days after the consolidated answering brief is served.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
